      Case 1:17-cr-00154-MAC-ZJH Document 299 Filed 07/30/18 Page 1 of 1 PageID #: 838
DATE July 30, 2018                   CASE NUMBER                  1:17-cr-154-8
LOCATION OF HRG      BEAUMONT                USA        Chris Rapp                      Assigned
JUDGE     ZACK HAWTHORN                      VS         Chris Rapp                     Appeared
DEPUTY CLERK     Tonya Piper          JASON WRIGHT
RPTR/ECRO     Tonya Piper (FTR)                                  Defendant
USPO                                 DUSTIN GALMOR
INTERPRETER                                                        Attorney
BEGIN       2:16 pm



☐          Interpreter Sworn                                          ARRAIGNMENT
☒ (Arraignment Hearing)
☒ Hearing held ☐ Hearing called
☐ Information (felony) ☐ Information (misdemeanor)                      ☐ Information (sealed)
☐ Indictment unsealed G Information Unsealed
☒ Dft appears           ☒ with         ☐ without          counsel;        ☐ Dft appears pro se;       ☐ Counsel appears on behalf of dft.
☐ Dft files Waiver of Indictment            G       Dft. advised of right to grand jury consideration
☐ Dft first appearance with counsel            ☐CJA         ☐Retained             ☐USPD
☒. . . Dft            ☒      sworn                           ☒ physically/mentally ready                      ☐ name spelled
                      ☒      advised of charges              ☒ advised of maximum penalties                   ☒ advised of right to remain silent;
                      ☒      advised of right to counsel ☒ rec'd copy of the charges;                         ☒ discussed charges w/ cnsl;
                      ☒      charges read                               ☐ waived reading of charges;               ☐ No pressure to plead
☒ Dft enters a plea of: ☒ Not Guilty                  ☐ Guilty               ☐ Nolo           ☐ Guilty - lesser
           to counts:         ☒ 1 ☒2 ☐3 ☐4☒5
               ☐ Indictment         ☐ Information              ☒ 3RD SS Indictment

☒     No additional orders entered at this time.
☐     Scheduling Order.

☒     Defendant consented to detention at this time.
                                                                                                                              2:25 pm      Adjourned
                                                                                                                           9 minutes Total Court Time
